     Case
MIED (Rev. 5/05)2:19-cv-13429-PDB-DRG                              ECF
                Statement of Disclosure of Corporate Affiliations and      No.
                                                                      Financial     3
                                                                                Interest   filed 11/20/19             PageID.97             Page 1 of 1
                                                         UNITED STATES DISTRICT COURT
                                                         EASTERN DISTRICT OF MICHIGAN

 General Motors LLC, General Motors Company

                         Plaintiff(s),                                                Case No.

v.                                                                                    Judge

 FCA US LLC, et al.                                                                   Magistrate Judge

                         Defendant(s).
                                                                             /

                                           STATEMENT OF DISCLOSURE
                                 OF CORPORATE AFFILIATIONS AND FINANCIAL INTEREST

            Pursuant to E. D. Mich. LR 83.4,                  General Motors LLC
                                                                                                    [Name of Party]

makes the following disclosure: (NOTE: A negative report, if appropriate, is required.)

1.          Is said corporate party a subsidiary or affiliate of a publicly owned corporation?
            Yes “    ✔
                                     No “

            If the answer is yes, list below the identity of the parent corporation or affiliate and the relationship
            between it and the named party.

            Parent Corporation/Affiliate Name: General Motors Holdings, LLC and General Motors Company
            Relationship with Named Party: General Motors LLC is wholly-owned by General Motors Holdings, LLC, which is wholly-owned by General Motors Company.

2.          Is there a publicly owned corporation or its affiliate, not a party to the case, that has a substantial financial
            interest in the outcome of the litigation?

            Yes “                    No “    ✔




            If the answer is yes, list the identity of such corporation or affiliate and the nature of the financial interest.

            Parent Corporation/Affiliate Name:
            Nature of Financial Interest:


Date:    November 20, 2019                                                /s/   Jeffrey
                                                                           /s/ Hariklia Karis,K.
                                                                                              P.C.Lamb
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